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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, No. 09-cr-20353
Plaintiff,
HON. Patrick J. Duggan
-VS-
OFFENSE(S): 21 U.S.C. Sections
D-5, JAVIER GONZALEZ-LOZA 846,841(a)(1)

MAXIMUM PENALTY: 10 yrs up to Life
Defendant.
/ MAXIMUM FINE: $4,000,000.00

Supervised Release: Not less than 60
mos

RULE 11 PLEA AGREEMENT
Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant
JAVIER GONZALEZ-LOZA and the government agree as follows:
1. GUILTY PLEA
A. Count(s) of Conviction
Defendant will enter a plea of guilty to Count(s) One of the First Superseding

Indictment, which charge(s) Conspiracy to Distribute and Possess With Intent to

Distribute 5 Kilograms or More of Cocaine.

B. Elements of Offense(s)

The elements of Count One:
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1. Two or more people agreed to commit the federal crime of distributing
and possessing with intent to distribute controlled substances - cocaine;

2. The defendant knowingly and intentionally joined this agreement,
seeking to further the goals of the conspiracy;

3. The amount of cocaine involved in the offense, and within the scope of
the defendant's personal participation and agreement, was five kilograms or more
of cocaine.

C. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for defendant's guilty

plea(s): During the course of the conspiracy, the defendant Javier Gonzalez-

Loza was an assistant to the Chicago, IL cocaine supplier who supplied

kilogram quantities of cocaine to co-defendant Francisco Hernandez. As part

of his assistance to the supplier, defendant Javier Gonzalez-Loza directly
facilitated the exchange of kilograms of cocaine from the supplier to co-
defendant Hernandez by placing the cocaine into a car with a hollowed out

bumper for transportation from Chicago to Detroit. On or about June 3, 2009,

in Chicago, IL, defendant Javier Gonzalez-Loza held a meeting with co-

| defendants Francisco Hernandez and Eduardo Campos Contreras wherein
co-defendant Francisco Hernandez was trying to obtain his usual kilogram
quantities of cocaine from the Chicago supplier. Defendant Javier Gonzalez

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Loza subsequently contacted the supplier and received instructions, over the
telephone, from the supplier to supply co-defendant Francisco Hernandez with
whatever kilogram quantity of cocaine he needed. On or about June 9, 2009,
co-defendant Eduardo Campos Contreras, en route from Chicago to Detroit,
was arrested in Michigan with 10 kilograms of cocaine, intended for co-
defendant Francisco Hernandez, secreted in the hollowed out bumper of a

Car.

2. SENTENCING GUIDELINES

A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. Agreed Guideline Range

There are no sentencing guideline disputes. Except as provided below,
defendant's guideline range is 70 - 87 months, as set forth on the attached
worksheets. However, Count 1requires a mandatory minimum sentence of
10yrs (120 mos). If the Court finds:

a) that defendant's criminal history category is higher than reflected on

the attached worksheets, or

b) that the offense level should be higher because, after pleading guilty,

defendant made any false statement to or withheld information from his

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probation officer; otherwise demonstrated a lack of acceptance of
responsibility for his offense(s); or obstructed justice or committed any
crime, and if any such finding results in a guideline range higher than
70 - 87, the higher guideline range becomes the agreed range.
However, if the Court finds that defendant is a career offender, an
armed career criminal, or a repeat and dangerous sex offender as
defined under the sentencing guidelines or other federal law, and that
finding is not already reflected in the attached worksheets, this
paragraph does not authorize a corresponding increase in the agreed
range.

Neither party may take a position concerning the applicable guidelines that is
different than any position of that party as reflected in the attached worksheets,
except as necessary to the Court’s determination regarding subsections a) and b),
above.

3. SENTENCE
The Court will impose a sentence pursuant to 18 U.S.C. §3553, and in doing

so must consider the sentencing guideline range.

A. Imprisonment
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Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range
as determined by Paragraph 2B.

B. Supervised Release

A term of supervised release follows the term of imprisonment. The Court
must impose a term of supervised release on Count One of no less than 5 years .
The agreement concerning imprisonment described above in Paragraph 3A does not
apply to any term of imprisonment that results from any later revocation of
supervised release.

C. Special Assessment

Defendant will pay a special assessment of $100.00 and must provide the
government with a receipt for the payment before sentence is imposed.

D. Fine

There is no agreement as to fines.

E. Restitution

Restitution is not applicable to this case.

4. OTHER CHARGES

If the Court accepts this agreement, the government will dismiss all remaining

charges in this case.
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5. EACH PARTY’S RIGHT TO WITHDRAW FROM THIS AGREEMENT
The government may withdraw from this agreement if the Court finds the
correct guideline range to be different than is determined by Paragraph 2B.
Defendant may withdraw from this agreement, and may withdraw his guilty
plea, if the Court decides to impose a sentence higher than the maximum allowed
by Part 3. This is the only reason for which defendant may withdraw from this
agreement. The Court shall advise defendant that if he does not withdraw his guilty
plea under this circumstance, the Court may impose a sentence greater than the
maximum allowed by Part 3.
6. WAIVER OF APPEAL
Defendant waives any right he may have to appeal his conviction. If the
sentence imposed does not exceed the maximum allowed by Part 3 of this
agreement, defendant also waives any right he may have to appeal his sentence.
If the sentence imposed is within the guideline range determined by Paragraph 2B
the government agrees not to appeal the sentence, but retains its right to appeal any
sentence below that range.
7. CONSEQUENCES OF WITHDRAWAL OF GUILTY PLEA(S) OR VACATION OF
| CONVICTION(S)
lf defendant is allowed to withdraw his guilty plea(s) or if any conviction

entered pursuant to this agreement is vacated, the Court shall, on the government's

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request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against defendant within six months after the date the
order vacating defendant's conviction or allowing him to withdraw his guilty plea(s)
becomes final, which charges relate directly or indirectly to the conduct underlying
the guilty plea(s) or to any conduct reflected in the attached worksheets, defendant
waives his right to challenge the additional charges on the ground that they were not
filed ina timely manner, including any claim that they were filed after the limitations
period expired. |
8. PARTIES TO PLEA AGREEMENT

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of
Michigan.
9. SCOPE OF PLEA AGREEMENT

This agreement, which includes all documents that it explicitly incorporates,
is the complete agreement between the parties. This agreement supersedes alll
other promises, representations, understandings and agreements between the
parties concerning the subject matter of this plea agreement that were made at any
time before the guilty plea is entered in court. Thus, no oral or written promises

made by the government to defendant or to the attorney for the defendant at any
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time before defendant pleads guilty are binding except to the extent they have been
explicitly incorporated into this agreement.

Notwithstanding the previous paragraph, if defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any
such prior written agreement.

This agreement also does not prevent any civil or administrative actions
against defendant, or any forfeiture claim against any property, by the United States
or any other party.

10. ACCEPTANCE OF AGREEMENT BY DEFENDANT

 

This plea offer expires unless it has been received, fully signed, in the Office
of the United States Attorney by 5:00 P.M. on 4/26/2011. The government reserves
the right to modify or revoke this offer at any time before defendant pleads guilty.

BARBARA L. MCQUADE
United States Attorney

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“Dawn. Ison = \_ ss TERRENCE HAUGABOOK

CHIEF, DRUG TASK FORCE UNIT ASSISTANT UNITED STATES ATTORNEY

ASSISTANT UNITED STATES ATTORNEY , —
Dini Cm Zz Le
WAYNE F. PRATT

CHIEF, HEALTH CARE FRAUD UNIT
ASSISTANT UNITED STATES ATTORNEY

  

 
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DATE: 4/19/2011

BY SIGNING BELOW, DEFENDANT ACKNOWLEDGES THAT HE HAS READ (OR BEEN
READ) THIS ENTIRE DOCUMENT (CONSISTING OF NINE PAGES), UNDERSTANDS IT, AND
AGREES TO ITS TERMS. HE ALSO ACKNOWLEDGES THAT HE IS SATISFIED WITH HIS
ATTORNEY’S ADVICE AND REPRESENTATION. DEFENDANT AGREES THAT HE HAS HAD AFULL
AND COMPLETE OPPORTUNITY TO CONFER WITH HIS LAWYER, AND HAS HAD ALL OF HIS
QUESTIONS ANSWERED BY HiS LAWYER.

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{ (Gf «<2 oy
GERALD K. EVELYN AVIER GONZALEZ-LOZA

ATTORNEY h, DEFENDANT DEFENDANT
At

Date: © i [ (

 
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WORKSHEET A_ (Offense Levels)

Defendant: Javier Gonzalez-Loza Count(s): 1

Docket No.: 09-20353 Statute(s): _21 U.S.C. 846; 841(a)(1)

Complete one Worksheet A for each count of conviction (taking into account relevant conduct and treating each stipulated offense as a separate
count of conviction) before applying the multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts of con-
viction, if the counts of conviction are all “closely related” to each other within the meaning of U.S.S.G. § 3D1.2(d), complete only a single
Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

Guideline Section Description Levels

2
2D1.1(a)(5)} 10 Kilograms of cocaine 3

 

 

 

 

 

 

 

2D1.1(b\11) Safety Valve 2
2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)
Guideline Section Description Levels

 

 

 

 

 

 

 

 

 

 

 

 

 

3. ADJUSTED OFFENSE LEVEL
Enter the sum of the offense levels entered in Items | and 2. If this Worksheet A does not cover every count 30
of conviction (taking into account relevant conduct and treating each stipulated offense as a separate count of
conviction), complete one or more additional Worksheets A and a single Worksheet B.

JOA IO RIOR BE

EB

If this is the only Worksheet A, check this box and skip Worksheet B. [x]

LU

 

 

If the defendant has no criminal history, check this box and skip Worksheet C.

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WORKSHEET C_ (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated
offenses): _6/9/09-indictment date

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months (U.S.S.G. §§ 4A1.1(a)): 3 POINTS

Enter 3 points for each prior adult sentence of imprisonment exceeding one year and one month that either (1) was imposed within 15 years
of the defendant's commencement of the instant offenses (taking into account relevant conduct and stipulated offenses) or (2) resulted in
the defendant’s confinement during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1), (e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days (U.S.S.G. §§ 4A1.1(b)): 2 POINTS

Enter 2 points for each prior sentence of imprisonment of at least 60 days not counted under U.S.S.G. § 4A1.1(a) that either (1) resulted
from an offense committed after the defendant turned 18 and was imposed within !0 years of the defendant’s commencement of the instant
offense (taking into account relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b), 4A1.2(e)(2)) or (2) resulted from an
offense committed before the defendant turned 18 and resulted in the defendant's confinement during any part of the 5-year period
preceding the defendant’s commencement of the instant offense (see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences (U.S.S.G. §§ 4A1.1(c)): 1 POINT

Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or (b) that either (1) resulted from an offense committed after
the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense committed before the
defendant turned 18 and was imposed within 5 years of the defendant’s commencement of the instant offense (taking into account relevant
conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(d)(2)(B)). NOTE: No more than 4 points may be added under this

 

 

item.
Date of Release
Imposition Status* Offense Sentence Date** Points
ny
5/5/97 Burglary lyr 0
8/5/99 Poss Cont. Sub Probation !

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

* Ifthe defendant committed the offense before turning 18, indicate whether he or she was sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only three situations: (1) when a sentence covered under U.S.S.G. § 4A1.1(a) was imposed more than 15 years
before the defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in his or her
confinement during any part of that 15-year period; (2) when a sentence counted under U.S.S.G. § 4A1.1(b) was imposed for an offense com-mitted
before the defendant turned 18 but resulted in his or her confinement during any part of the 5-year period preceding his or her commence-ment of the
instant offense (taking into account relevant conduct and stipulated offenses); and (3) when 2 criminal history points are added pur-suant to U.S.S.G.
§ 4A1.1(e) because the defendant committed the instant offense (taking into account relevant conduct and stipulated offenses) shortly after or during
imprisonment resulting from a sentence counted under U.S.S.G. § 4A1.1(a) or (b) or while he or she was on escape status for such a sentence.
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(WORKSHEET C, p. 2)

COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE (U.S.S.G. §
4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
while under any criminal justice sentence having a custodial or supervisory component, including probation, parole, supervised release,
imprisonment, work release, and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of contro! and identify the
sentence from which it resulted.

 

 

 

 

COMMISSION OF INSTANT OFFENSE SHORTLY AFTER OR DURING IMPRISONMENT
(U.S.S.G. § 4A1.1(e))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
either less than 2 years after release from imprisonment on a sentence counted under U.S.S.G. §§ 4A1.1(a) or 4A1.1(b) or while in
imprisonment or escape status on such a sentence. However enter, only | point for this item if 2 points were added under Item 2. (See
U.S.S.G. §§ 4A1.1(e), 4A1.2(n).) List the date of release and identify the sentence from which it resulted.

 

 

 

 

PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(f))

s

Enter | point for each prior sentence resulting from a conviction for a crime of violence that did not receive any points under U.S.S.G. §
4Al1.1(a), (b), or (c) because such sentence was considered related to another sentence resulting from a conviction for a crime of violence.
But enter no points where the sentences are considered related because the offenses occurred on the same occasion, (See U.S.S.G. §§
4A1.1(f), 4A1.2(p).) Identify the crimes of violence and briefly explain why the cases are considered related. NOTE: No more than 3
points may be added under this item.

 

 

 

 

 

 

TOTAL CRIMINAL HISTORY POINTS

Enter the sum of the criminal history points entered in Items 1-4.

 

 

 

CRIMINAL HISTORY CATEGORY

Total Criminal] History Points Criminal History Category

0-1 I
2-3 II
4-6 III
7-9 IV
10-12 Vv
213 VI

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WORKSHEET D_ (Guideline Range)

(COMBINED) ADJUSTED OFFENSE LEVEL

 

30

 

 

 

Enter the adjusted offense level entered in Item 3 of Worksheet A or the combined adjusted offense level
entered in Item 8 of Worksheet B.

 

ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G § 3E1.1)

 

 

 

TOTAL OFFENSE LEVEL
27

Enter the difference between Items | and 2.

CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminal history. Otherwise, enter the criminal history category
entered in Item 6 of Worksheet C.

CAREER OFFENDER / CRIMINAL LIVELIHOOD / ARMED CAREER CRIMINAL
(U.S.S.G. ch. 4, pt. B)

 

a. Total Offense Level: If the career offender provision (U.S.S.G. § 4B1.1), the criminal livelihood provision
(U.S.S.G. § 4B1.3), or the armed career criminal provision (U.S.S.G. § 4B1.4) results in a total offense
level higher than the total offense level entered in Item 3, enter the higher offense level total.

 

 

b. Criminal History Category: If the career offender provision (U.S.S.G. § 4B1.1) or the armed career criminal
provision (U.S.S.G. § 4B 1.4) results in a criminal history category higher than the criminal history category
entered in Item 4, enter the higher criminal history category.

GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A)
Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A) produced by the total
offense level entered in Item 3 or 5.a and the criminal history category entered in Item 4 or 5.b. 70-87 months

STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE

If the maximum sentence authorized by statute is below, or a minimum sentence required by statute 120 mos*
is above, the guideline range entered in Item 6, enter either the guideline range as restricted by

statute or the sentence required by statute. (See U.S.S.G. § 5G1.1.} If the sentence on any count of

conviction is required by statute to be consecutive to the sentence on any other count of conviction,
explain why.

 

 

 

*Subject to Safety Valve

 

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WORKSHEET E_ (Authorized Guideline Sentences)

PROBATION (U.S.S.G. ch. 5, pt. B)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

Probation is not authorized by the guidelines (minimum of guideline range > 6 months or statute
of conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split
Sentence).

Probation is authorized by the guidelines (minimum of guideline range = zero months).

Probation is authorized by the guidelines, provided the court imposes a condition or combination
of conditions requiring intermittent confinement, community confinement, or home detention
satisfying the minimum of the guideline range (minimum of guideline range > 0 months but < 6
months).

Length of Term of Probation (U.S.S.G. § 5B1.2)

At least 1 year but not more than 5 years (total offense level = 6).

No more than 3 years (total offense level < 6).

Conditions of Probation (U.S.S.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of

SPLIT SENTENCE (U.S.S.G. § 5C1.1(c)(2), (d)(2))

 

 

 

 

 

 

1.
a.
xX 1.
2.
3.
b.
1.
2.
c.
probation.
2.
X a.
b.
3.

A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

A split sentence is authorized (minimum of guideline range > 0 months but < 10 months). The
court may impose a sentence of imprisonment that includes a term of supervised release with a
condition that substitutes community confinement or home detention for imprisonment, provided
that at least one-half of the minimum of the guideline range is satisfied by imprisonment (if the
minimum of the guideline range is 8, 9, or 10 months), or that at least one month is satisfied by
imprisonment (if the minimum of the guideline range is 1, 2, 3, 4, or 6 months). The authorized
length of the term of supervised release is set forth below in Item 4.b

IMPRISONMENT (U.S.S.G. ch. 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable guideline range
(entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.) (rev. 06/99)
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(WORKSHEET E, p. 2)

4, SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a.

 

 

 

 

 

 

 

 

 

 

Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)
The court must impose a term of supervised release if it imposes a term of imprisonment of more

than one year, or if it is required to do so by statute. The court may impose a term of supervised
release if it imposes a term of imprisonment of one year or less.

Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

At least 3 years but not more than 5 years, where the count of conviction is a Class A or a Class
B felony, i.e., an offense carrying a maximum term of imprisonment > 25 years.

At least 2 years but not more than 3 years, where the count of conviction is a Class C or a Class
D felony, i.e., an offense carrying a maximum term of imprisonment = 5 years but < 25 years.

1 year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.e., an
offense carrying a maximum term of imprisonment > 6 months but <5 years.

The statute of conviction requires a minimum term of supervised release of _ 60 mos

Conditions of Supervised Release (U.S.S.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other conditions
of supervised release.

5. RESTITUTION (U.S.S.G. § 5E1.1)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1.

The court will determine whether restitution should be ordered and in what amount.

Full restitution to the victim(s) of the offense(s) of conviction is required by statute. (See, e.g.,
18 U.S.C. §§ 3663A, 2327.) The parties agree that full restitution is $

The parties agree that the court may order restitution to the victim(s) of the offense(s) of
conviction in any amount up to and including $ . (See 18 U.S.C. §§

3663(a)(3).)

The parties agree that the court may also order restitution to persons other than the victim(s) of
the offense(s) of conviction. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3).)

Restitution is not applicable.

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(WORKSHEET E, p. 3)

FINE (U.S.S.G. § 5E1.2)

a. Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is unable to pay and is not
likely to become able to pay any fine.” (See U.S.S.G. § 5E1.2(a).) Generally, the fine authorized by the
guidelines is limited to the range established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there
are exceptions to this general rule. (See U.S.S.G. § SEI.2(b), (c)(4).)

b. Fine Range from Fine Table (U.S.S.G. § SE1.2(c)(3))

Minimum Fine Maximum Fine
§ 12,500 $4,000,000

 

SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction. The special assessments for individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
$ 25.00 for every count charging a Class A misdemeanor,

$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every count charging a Class C misdemeanor or an infraction.

The defendant must pay a special assessment or special assessments in the total amount of $100.00

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

 

UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)

List any applicable aggravating or mitigating circumstance that might support a term of imprisonment above or
below the applicable guideline range.

None

 

rev. 06/99}
